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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,

                Plaintiffs,

        v.                                                No. 20-cv-3377 (DLF)

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

                Defendants.


                          MEMORANDUM OPINION AND ORDER

       Before the Court is the plaintiffs’ Emergency Motion to Enforce the Supreme Court’s

Ruling and to Vacate the Stay Pending Appeal. Dkt. 67. For the reasons that follow, the Court

will deny the motion.

I.     BACKGROUND

       As part of the Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136,

134 Stat. 281 (2020), Congress enacted a 120-day eviction moratorium that applied to all rental

properties receiving federal assistance. See id. § 4024(b), 134 Stat. at 492–94. When that

moratorium expired, the U.S. Department of Health and Human Services (HHS), through the

Centers for Disease Control and Prevention (CDC), imposed a broader eviction moratorium that

applied to all rental properties in the United States. See Temporary Halt in Residential Evictions

to Prevent the Further Spread of COVID-19, 85 Fed. Reg. 55,292 (Sept. 4, 2020). In December

2020, Congress granted a 30-day extension of that moratorium. See Consolidated

Appropriations Act, 2021, Pub. L. No. 116-260, § 502, 134 Stat. 1182, 2078–79 (2020). The

CDC then further extended it, first in January 2021 and then in March 2021. See Temporary
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Halt in Residential Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 8020

(Feb. 3, 2021); Temporary Halt in Residential Evictions to Prevent the Further Spread of

COVID-19, 86 Fed. Reg. 16,731 (Mar. 31, 2021).

       This Court vacated the CDC’s eviction moratorium on May 5, 2021. See Mem. Op. of

May 5, 2021, Dkt. 54. One week later, the Court issued a stay of vacatur pending appeal. Mem.

Op. of May 14, 2021, Dkt. 61. In turn, on June 2, 2021, the D.C. Circuit declined to vacate the

stay in an unpublished, per curiam judgment. Order of June 2, 2021, Ala. Ass’n of Realtors v.

U.S. Dep’t of Health & Human Servs., No. 21-5093, 2021 WL 2221646 (D.C. Cir. June 2, 2021).

       On June 24, 2021, after the plaintiffs asked the Supreme Court to vacate the stay, the

CDC again extended the eviction moratorium for a third time. See Temporary Halt in

Residential Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 34,010 (June 28,

2021). In so doing, the CDC represented both in the extension order itself and to the Supreme

Court that, “absent an unexpected change in the trajectory of the pandemic, CDC does not plan

to extend the Order [beyond July 31, 2021].” See id. at 34,013; Letter from Acting Solicitor

General Elizabeth Prelogar to Clerk of Court Scott Harris at 1 (June 24, 2021), Ala. Ass’n of

Realtors v. U.S. Dep’t of Health & Human Servs., No. 20A169.

       On June 29, 2021, the Supreme Court denied the plaintiffs’ application to vacate the stay,

based in part on the CDC’s representation that it would not further extend the moratorium. See

Ala. Ass’n. of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2320, 2320 (2021) (Mem.)

(Kavanaugh, J. concurring). Four Justices, however, voted to vacate the stay immediately. Id.

And Justice Kavanaugh, whose vote to leave the stay in place was essential to the Court’s

disposition, made clear his view that the CDC “exceeded its existing statutory authority by

issuing a nationwide eviction moratorium.” Id. at 2320–21. Even so, Justice Kavanaugh




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reasoned that “[b]ecause the CDC plans to end the moratorium in only a few weeks, on July 31,

and because those few weeks will allow for additional and more orderly distribution of the

congressionally appropriate rental assistance funds,” the balance of the equities favored leaving

the stay in place. Id. Thereafter, Justice Kavanaugh wrote, “clear and specific congressional

authorization (via new legislation) would be necessary for the CDC to extend the moratorium.”

Id.

       In the following weeks, the Biden Administration repeatedly stated that it would not

further extend the eviction moratorium in light of the Supreme Court’s ruling, which it

interpreted to “mak[e] clear” the option “is no longer available.” Pls.’s Reply at 1–2, Dkt. 71

(quoting White House, Statement by White House Press Secretary Jen Psaki on Biden-Harris

Administration Eviction Prevention Efforts (July 29, 2021)). And the Administration stressed

that the CDC agreed with this interpretation, stating that “the CDC Director and her team have

been unable to find legal authority, even for a more targeted eviction moratorium that would

focus [just] on counties with higher rates of COVID spread.” Mot. Hr’g Tr. at 20 (quoting White

House, Press Briefing by Press Secretary Jen Psaki and White House American Rescue Plan

Coordinator and Senior Advisor to the President Gene Sperling (Aug. 2, 2021)).

       Nonetheless, on August 3, 2021, three days after the prior policy lapsed, the CDC

renewed a moratorium on evictions in the United States. See Temporary Halt in Residential

Evictions in Communities with Substantial or High Transmission of COVID-19 to Prevent the

Further Spread of COVID-19, 86 Fed. Reg. 43,244 (Aug. 6, 2021). Scheduled to run through

October 3, 2021, the current moratorium differs from its predecessor in that it applies only “in

U.S. count[ies] experiencing substantial or high levels of community transmission levels of

SARS-CoV-2 as defined by CDC.” Id. at 43,245 (citations omitted). Otherwise, as discussed in




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greater depth below, the current moratorium is virtually identical to the moratorium that the

parties litigated before the Supreme Court. Compare id., with Temporary Halt in Residential

Evictions to Prevent the Further Spread of COVID-19, 86 Fed. Reg. 34,010 (June 28, 2021).

           On August 4, 2021, the plaintiffs filed an “Emergency Motion to Enforce the Supreme

Court’s Ruling and to Vacate the Stay Pending Appeal.” Dkt. 67. In their motion in opposition,

the government argued that the D.C. Circuit’s June 2 judgment is the law of the case and so

requires this Court to maintain the stay. Dkt. 69. The plaintiffs’ motion is now ripe for review.

II.        ANALYSIS

           Before addressing the plaintiffs’ motion, the Court must first decide whether the current

moratorium is an extension or an entirely new policy. Because the current moratorium is an

extension, it is subject to the stay and can be challenged in this action. Even so, the law of the

case doctrine prevents the Court from lifting the stay, and therefore, the Court will deny the

plaintiffs’ motion.

      A.      The Current Eviction Moratorium Is Subject to the Stay

           It is well-established that federal courts have the “inherent power to enforce [their]

judgments.” Peacock v. Thomas, 516 U.S. 349, 356 (1996); see also Pigford v. Veneman, 292

F.3d 918, 924 (D.C. Cir. 2002) (noting that district courts’ interpretive authority is connected to

their enforcement authority); Pfizer Inc. v. Uprichard, 422 F.3d 124, 131 (3d Cir. 2005) (“[A]

district court has inherent authority to ensure that prevailing parties are able to enforce prior

judgments.”). Here, the plaintiffs ask the Court to either vacate the current moratorium or

“simply clarify[] that [this Court’s] original vacatur order covers it.” Pls.’s Br. at 2–3, Dkt. 67.

Given the procedural posture of this case, and because the plaintiffs seek to “clarify something

ambiguous or vague, not to alter or amend,” United States v. Philip Morris USA, Inc., 793 F.




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Supp. 2d 164, 168 (D.D.C. 2011) (citation omitted), this Court construes the plaintiffs’ filing as a

motion for clarification of the Court’s May 5 vacatur order. To resolve that motion, the Court

must “pull back the curtain” to determine whether the current moratorium is “so related” to the

prior moratorium that an order vacating the latter also applies to the former. Wash. Metro. Area

Transit Auth. Comm’n v. Reliable Limousine Serv., LLC, 776 F.3d 1, 9 (D.C. Cir. 2015).

       The Court begins with the moratorium’s text. There are two substantive differences

between the current moratorium and the moratorium that this Court considered on May 5, 2021.

First, the current moratorium is effective through October 3, 2021, and covers all evictions

initiated but not finalized before the order’s promulgation on August 3, 2021. 86 Fed. Reg. at

43,247, 43,250. Second, the current moratorium applies only “in U.S. counties experiencing

substantial and high levels of community transmission levels of SARS-CoV-2 as defined by

CDC,” 1 id. at 43,250 (citations omitted)—a category that presently includes roughly ninety-one

percent of U.S. counties, see CDC, COVID Data Tracker: Integrated Country View,

https://covid.cdc.gov/covid-data-tracker/#county-view (last visited Aug. 13, 2021). In contrast,

the previous moratorium applied in all U.S. counties. 86 Fed. Reg. at 34,010. Apart from these

differences, the moratoria are virtually identical—the remainder of their definitions are the same,

their exceptions are the same, their applicability provisions are the same, and the criminal

penalties for violating those provisions are the same. And the CDC designed the current



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  The moratorium contains several provisions that further define the scope of its coverage. To
begin, the order applies in all counties that experience substantial or high transmission levels “as
of August 3, 2021.” 86 Fed. Reg. at 43,250. From there, if an additional county experiences
those transmission levels, “that county will become subject to this Order as of the date the county
begins experiencing substantial or high levels of community transmission.” Id. Additionally, if
a county that is covered by the order “no longer experiences substantial or high levels of
community transmission for 14 consecutive days,” the order “will no longer apply in that county,
unless and until the county again experiences substantial or high levels of community
transmission.” Id.


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moratorium to be continuous with its antecedents, insofar as it exempts persons covered under

those antecedents from filing new declarations of eligibility. See 86 Fed. Reg. at 43,245 n.7.

       The minor differences between the current and previous moratoria do not exempt the

former from this Court’s order. For obvious reasons, extending the effective dates of a vacated

order does not evade the effects of the vacatur. Indeed, consistent with that principle, both the

government and the Supreme Court already considered one extension of the moratorium in pari

materia with the version that this Court addressed in May. See Letter from Acting Solicitor

General Elizabeth Prelogar, supra; Ala. Ass’n of Realtors, 141 S. Ct. at 2320–21 (Kavanaugh, J.,

concurring). Further, although the CDC has excluded some counties from the latest

moratorium’s reach, the policy remains effective nationwide, shares the same structure and

design as its predecessors, provides continuous coverage with them, and purports to rest on the

same statutory authority. In the analogous context of the voluntary cessation doctrine, courts

frown upon attempts to moot out legal challenges by repealing one rule and “replac[ing] it with a

policy that is fundamentally similar.” Am. Freedom Defense Inst. v. Wash. Metro. Area Transit

Auth., 901 F.3d 356, 362 (D.C. Cir. 2018). Rather, courts treat the replacement policy as merely

a renewal of the challenged conduct, such that it is reviewable in the same action. See id. So too

here. Because the current moratorium is fundamentally similar to its predecessors, it is “so

related” to them as to fall within the May 5 vacatur order. Reliable Limousine Serv., 776 F.3d at

9.

       The government conceded this point at oral argument. There, it explained that “the

statutory basis for the new order is the same as the statutory basis for the previous order,” Mot.

Hr’g Tr. at 11, and that the few modifications to the former would not “necessarily be relevant

under this Court’s summary judgment ruling,” id. at 12. The government also disclaimed any




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arguments that this case “was mooted out by the three-day lapse [in] the existence of a

moratorium” or that the “plaintiffs needed to bring a new case.” Id. at 11. Finally, as a

necessary predicate to its reliance on the law-of-the-case doctrine, the government argued that

both this Court’s rulings and “the preceden[ts] of the D.C. Circuit” continue to bind this Court.

Id. 2

             For these reasons, the Court concludes that the current eviction moratorium is an

extension of the vacated moratoria, such that it is subject to this Court’s May 5 order and its

subsequent stay pending appeal. The plaintiffs’ motion to vacate the stay is thus ripe for review.

        B.      The Law-of-the-Case Doctrine Prevents the Court from Lifting the Stay

             “When circumstances have changed such that the court’s reasons for imposing the stay

no longer exist or are inappropriate, the court may lift the stay sua sponte or upon motion.”

Marsh v. Johnson, 263 F. Supp. 2d 49, 52 (D.D.C. 2003). The party seeking continuation of a

stay “bears the burden of showing his entitlement to [it].” Latta v. Otter, 771 F.3d 496, 498 (9th

Cir. 2014) (citation omitted). In assessing whether to lift a stay, a court considers the traditional

four stay factors: “(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 426 (2009).




2
 Having argued that the current moratorium is a mere extension of the old moratorium, that it is
covered by this Court’s May 5 order, and that the plaintiffs need not file a separate action to
challenge its terms, the government is presumably estopped from arguing to the contrary on
appeal. See Pegram v. Herdrich, 530 U.S. 211, 227 n.8 (2000) (“Judicial estoppel generally
prevents a party from prevailing in one phase of a case on an argument and then relying on a
contradictory argument to prevail in another phase.”); see also Davis v. Wakelee, 156 U.S. 680,
689 (1895) (similar).


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       Rather than address any of these factors on the merits, the government argues that the

law-of-the-case doctrine requires the Court to maintain the stay as a matter of law. Defs.’s Br. at

6–8, Dkt. 69. This Court agrees. Because the D.C. Circuit’s judgment affirming the stay binds

this Court and the Supreme Court did not overrule that judgment, the Court will deny the

plaintiffs’ motion.

       As a general matter, the law-of-the-case doctrine provides that “a court involved in later

phases of a lawsuit should not re-open questions decided . . . by that court or a higher one in

earlier phases.” Crocker v. Piedmont Aviation, Inc., 49 F.3d 735, 739 (D.C. Cir. 1995). Under

the doctrine, “the same issue presented a second time in the same case in the same court should

lead to the same result.” LaShawn A. v. Barry, 87 F.3d 1389, 1393 (D.C. Cir. 1996) (en banc).

Additionally, when an appellate court has reached and necessarily decided an issue of fact or

law, the doctrine provides that a district court in the same case “has no power or authority to

deviate from” the appellate court’s conclusion. Briggs v. Pa. R. Co., 334 U.S. 304, 306 (1948);

see also Hodge v. Evans Fin. Corp., 823 F.2d 559, 567 (D.C. Cir. 1987) (holding that a “trial

court is without power to reconsider issues decided on a previous appeal” (citation omitted)).

       “For a ruling or decision to become the law of the case, it must . . . be final as to the

matters involved.” Bryan A. Garner, et al., The Law of Judicial Precedent 448 (2016). Finality

in this context does not require a final, appealable judgment. See Thomas v. Gandhi, 650 F.

Supp. 2d 35, 39 (D.D.C. 2009). Instead, the condition is satisfied whenever an appellate court

has “affirmatively decided” a question of fact or law. Crocker, 49 F.3d at 739. Here, the

government argues that three conclusions in the D.C. Circuit’s judgment qualify as the law of the

case: first, that the government was likely to succeed on the merits, see Ala. Ass’n of Realtors,

2021 WL 2221646, at *1–3; second, that the plaintiffs failed to show irreparable harm, see id. at




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*3; and third, that “the magnitude of any additional financial losses incurred during appeal is

outweighed by HHS’s weighty interest in protecting the public health,” id. at *4 (alterations and

citations omitted). Because these are clearly affirmative decisions by that court, see Crocker, 49

F.3d at 739, and because the court reached them in this same case, the government is correct that

they are binding here.

        The plaintiffs argue that those conclusions are not the law of the case because the D.C.

Circuit reached them in affirming a grant of emergency relief. For this purpose, the plaintiffs

invoke Berrigan v. Sigler, 499 F.2d 514, 518 (D.C. Cir. 1974), which held that “[t]he decision of

a trial or appellate court whether to grant or deny a preliminary injunction does not constitute the

law of the case for the purposes of further proceedings.” Id. at 518. They also invoke Belbacha

v. Bush, 520 F.3d 452 (D.C. Cir. 2008), which found that an “order denying preliminary relief

. . . [did] not constitute the law of the case.” Id. at 458 (citation omitted).

        Neither of those holdings apply here. In Berrigan, the D.C. Circuit had granted

emergency relief to two parolees after finding that their constitutional challenge was likely to

succeed on the merits. See 499 F.2d at 517. Against that backdrop, Berrigan clarified that no

law of the case prevented either “the parties from litigating the merits” or the district court from

deciding the merits in the non-movants’ favor. Id. at 518. Likewise, in Belbacha, the district

court had denied a detainee’s motion for a temporary restraining order, and the D.C. Circuit had

also denied emergency relief. See 520 F.3d at 454–55. Belbacha confirmed that neither of those

emergency decisions—including their subsidiary determinations that the detainee was unlikely to

prevail on the merits—bound the district court in resolving the merits. See id. at 458. Both

Berrigan and Belbacha, as the D.C. Circuit later explained, follow from the basic “element[s] of

the law-of-the-case rule.” Sherley v. Sebelius, 689 F.3d 776, 782 (D.C. Cir. 2012). When an




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appellate court “predicts” who “likely will or will not succeed on the merits,” it does not

“affirmatively decide[]” the merits, and so creates no law of the case regarding them. Id. The

same reasoning does not apply, however, when a district court must decide whether a movant is

likely to succeed on the merits after a court of appeals has already resolved that same question in

the same case. Neither Berrigan nor Belbacha suggest that the district court has discretion in

that posture. Thus, although “findings of fact and conclusions of law made by a court granting a

preliminary injunction are not binding at trial on the merits,” Univ. of Texas v. Camenisch, 451

U.S. 390, 395 (1981), they are binding on further requests for emergency relief.

       A contrary approach to the law-of-the-case doctrine would produce absurd results

whenever a district court and a court of appeals disagree over emergency relief. For example, if

a district court granted a stay and a court of appeals vacated it, the plaintiffs’ approach to the

law-of-the-case doctrine would allow the district court to reissue an identical stay in the same

case. That result would flaunt basic principles of vertical stare decisis—“a critical aspect of our

hierarchical Judiciary headed by ‘one supreme Court.’” Winslow v. FERC, 587 F.3d 1133, 1135

(D.C. Cir. 2009) (quoting U.S. Const. art. III, § 1). The same principles apply here, where the

D.C. Circuit concluded that the government is likely to succeed on the merits and the plaintiffs

ask this Court to vacate its stay on the opposite ground.

       It is true that the Supreme Court’s recent decision in this case strongly suggests that the

CDC is unlikely to succeed on the merits. Four Supreme Court Justices voted to vacate the stay,

“an action which would have been improbable if not impossible had the government, as the stay

applicant, . . . made a strong showing that it was likely to succeed on the merits.” CASA de

Maryland, Inc. v. Trump, 971 F.3d 220, 229 (4th Cir. 2020) (Wilkinson, J.). And while Justice

Kavanaugh voted to uphold the stay, he squarely concluded “the Centers for Disease Control and




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Prevention exceeded its existing statutory authority by issuing a nationwide eviction

moratorium.” Ala. Ass’n of Realtors, 141 S. Ct. at 2320 (Kavanaugh, J., concurring).

       Other decisions from the federal courts of appeals further suggest that the government is

unlikely to prevail. After full briefing and argument, the Sixth Circuit held that § 361 of the

Public Health Service Act does not authorize the CDC to impose a nationwide eviction

moratorium. See Tiger Lily, LLC v. U.S. Dep’t of Housing & Urban Dev., No. 21-5256, 2021

WL 3121373, at *5 (6th Cir. July 23, 2021). The court reasoned that the section’s second

sentence, which authorizes the “inspection, fumigation, disinfection, sanitation, pest

extermination, [and] destruction of animals or articles” that are “sources of dangerous infection,”

clarifies the scope of its first sentence, which authorizes the CDC to promulgate regulations

“necessary to prevent the introduction, transmission, or spread of communicable diseases.” Id. at

*2–3 (quoting 42 U.S.C. § 264(a)). Because imposing a nationwide eviction moratorium is not

“similar to” those enumerated measures, the ejusdem generis canon excludes that option from the

agency’s toolkit. Id. at *3. The Sixth Circuit also responded to several arguments in the D.C.

Circuit’s judgment, including the theory that the second sentence of § 361 serves principally to

provide “express congressional authorization under the Fourth Amendment” for the measures it

describes. Ala. Ass’n of Realtors, 2021 WL 2221646, at *2 (first citing Oklahoma Press Publ’g

Co. v. Walling Wage & Hour Adm’r, 327 U.S. 186, 201 & n.26–27 (1946), then citing FTC v.

Am. Tobacco Co., 364 U.S. 298, 305–06 (1924)). On that point, the court explained that neither

case relied upon by the D.C. Circuit would have “placed Congress on notice that giving the

Secretary authority to order inspections and fumigations would implicate the Fourth

Amendment,” particularly as Oklahoma Press was published two years after the enactment of

the Public Health Service Act. Tiger Lily, 2021 WL 3121373, at *3 n.2.




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       The Eleventh Circuit also expressed “doubts” about the CDC’s statutory arguments. See

Brown v. Sec’y, U.S. Dep’t of Health & Human Servs., No. 20-14210, 2021 WL 2944379, at *2

(11th Cir. July 14, 2021). Judge Grant, writing for the majority, explained that the CDC’s

authority to regulate the spread of disease under § 361 is tethered to and narrowed by “the

means” specified in its second sentence. Id. And Judge Branch, writing separately, concluded

that “neither sentence of § [361(a)] authorizes the CDC Order” and that “the Order has not been

statutorily authorized through Congressional ratification.” Id. at *28–29 (Branch, J., dissenting).

       These intervening decisions call into question the D.C. Circuit’s conclusion that the CDC

is likely to succeed on the merits. For that reason, absent the D.C. Circuit’s judgment, this Court

would vacate the stay. 3 But the Court’s hands are tied. The Supreme Court did not issue a

controlling opinion in this case, and circuit precedent provides that the votes of dissenting

Justices may not be combined with that of a concurring Justice to create binding law. See United

States v. Epps, 707 F.3d 337, 348 (D.C. Cir. 2013) (holding that a Marks opinion “must embody



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  The government has not met its burden of showing that the equities cut strongly in its favor,
particularly given its low likelihood of success on the merits. See Cigar Ass’n of Am. v. FDA,
317 F. Supp. 3d 555, 560 (D.D.C. 2018) (explaining that if “the issue on appeal presents a
serious legal question on the merits,” a movant may overcome a lower likelihood of success
“with a strong showing as to the other three factors” (cleaned up)). Since this Court issued the
stay, the government has had three months to distribute rental assistance; health care providers
have administered roughly 65 million additional vaccine doses, see CDC, COVID Data Tracker:
Trends in Number of COVID-19 Vaccinations in the US, https://covid.cdc.gov/covid-data-
tracker/#vaccination-trends_vacctrends-total-cum (last visited Aug. 13, 2021); and the total cost
of the moratoria to lessors, amounting to as much as $19 billion each month, has only increased,
see Mem. Op. of May 14, 2014, at 9 (citation omitted). To be sure, the recent rise in Delta
variant cases is troubling. But the government has made no attempt to show how many evictions
its moratorium actually prevents, considering both the availability of federal rental assistance and
the operation of other moratoria at the state level. Nor has the government identified any
approach for evaluating when the compounding costs of the federal moratorium will outweigh its
residual benefits. Given those omissions, the government has failed to make the necessary
“strong showing.” And because the absence of that showing warrants lifting the stay pending
appeal, this Court need not address the plaintiffs’ separate argument that the Administration
“appears to have acted in bad faith” throughout this litigation. Pls.’s Br. at 3.


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a position implicitly approved by at least five Justices who support the judgment” (quoting King

v. Palmer, 950 F.2d 771, 781 (D.C. Cir. 1991) (en banc))). Moreover, because the four

dissenting Justices did not explain their votes, it is impossible to determine which proposed

disposition—theirs or Justice Kavanaugh’s—is the “common denominator” of the other. Id. at

348. Further, the decisions of Sixth and Eleventh Circuit do not bind this Court. And although

district courts have discretion to reappraise the equities in extraordinary circumstances, this

Court lacks the “power or authority” to reach the opposite conclusion of the D.C. Circuit on the

same issues, in the same emergency posture, and in the same case. Briggs, 334 U.S. at 306.

       To lift the stay, the plaintiffs must accordingly seek relief before the D.C. Circuit, which

may depart from the law of the case when there is an “intervening change in controlling legal

authority,” LaShawn A., 87 F.3d at 1393, or when a previous decision was “clearly erroneous and

would work a manifest injustice,” Christianson v. Colt Indus. Operating Corp., 486 U.S. 800,

817 (1988) (citation omitted).

                                         CONCLUSION

       Accordingly, it is

       ORDERED that the plaintiffs’ Emergency Motion to Enforce the Supreme Court’s

Ruling and to Vacate the Stay Pending Appeal, Dkt. 67, is DENIED. It is further

       ORDERED that the Third Amendment Lawyers Association’s Motion for Leave to File

Brief as Amicus Curiae, Dkt. 70, is DENIED AS MOOT.

       SO ORDERED.


                                                              ________________________
                                                              DABNEY L. FRIEDRICH
                                                              United States District Judge
August 13, 2021




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